     Case: 1:21-cv-01794 Document #: 14 Filed: 06/23/21 Page 1 of 1 PageID #:31

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Laura Enriquez
                                        Plaintiff,
v.                                                      Case No.: 1:21−cv−01794
                                                        Honorable John Robert Blakey
Atlantic Recovery Solutions, LLC
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 23, 2021:


        MINUTE entry before the Honorable John Robert Blakey: Based upon Plaintiff's
notice of voluntary dismissal [13], this case is hereby dismissed with prejudice under Rule
41(a). Civil case terminated. Mailed notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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